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                           IN THE UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF MISSOURI
                                       AT KANSAS CITY

In re:   Robert Edward Holt
                                                                 Case No. -13
         Debbie Ann Holt
                                                                 SSN: xxx-xx-4257
                                                                 SSN: xxx-xx-0524

        A check in this box indicates that this plan contains deviations from the standard provisions of
    the model plan adopted by the court at the time of its filing. If changes have been made to the pre-
    printed text of the model plan form and this box has not been checked, such changes are null and
    void.

        Debtor (and joint debtor if applicable) certifies that all tax returns due for the four tax years prior
    to the petition date have been filed.

       Debtor(s) has/have not filed all tax returns due for the four tax years prior to the petition date.
    The tax return(s) that have not been filed are the following returns and year due:2009 and 2010 state
    returns. Debtors will have all returns filed by the 341 meeting.

         Original plan                                                    Above median
         Amended plan                                                     Below median

   YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully and discuss them
   with your attorney. Any party who wishes to oppose any provision of this plan must file a timely
   written objection. This plan may be confirmed without further notice or hearing unless written
   objection is filed with the clerk of the court before the deadlines specified in Local Rule 3083-1(D)
   and (E).

   Unless otherwise noted, all statutory references are to Title 11 of the United States Code and all
   references to “court” are to the United States Bankruptcy Court for the Western District of Missouri.
   See Plan Provisions section for definitions.

    1. PLAN PAYMENT: Debtor shall pay $2,100 per month from future earnings to the standing
       Chapter 13 trustee.

         a.        Direct payment: from debtor(s) to trustee; or

       b.        Voluntary Wage Assignment to Employer:
      Debtor's name       Monthly      Employer's name  Street address City, state & zip
                           amount
     Robert Holt            $2100       Raytown School    6608 Raytown    Raytown, MO
                                        District          Rd              64133-5265

     2. ATTORNEY FEES




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   Total attorney fees      Attorney fees paid directly by          Attorney fees paid from       Equal
                                     the debtor                       the plan payments         monthly
                                                                                                amount
                                                                                                (“EMA”)
  $3,000.00                 $359.00                                 $2,641.00                   $400

     3. PRIORITY CLAIMS

        a. Domestic Support Obligations (“DSO”):

                   i. Ongoing post-petition DSO:

                         1. Debtor shall make post-petition DSO payments directly to the holder of the
                            claim whether payments are made to the actual recipient or to a
                            governmental unit as assignee.

                         2. Pursuant to §112 and FRBP Rule 9037, do not disclose the name of a minor
                            child. Identify only with the minor's initials.


   Debtor's name           Ongoing DSO                          Address                  Telephon    Direc
                         claim holder name                                               e number      t
                                                                                                     mont
                                                                                                     hly
                                                                                                     paym
                                                                                                      ent


                   ii. Pre-petition arrearages owed to DSO holders under §507(a)(1)(A) and
                       §507(a)(1)(B) shall be paid by the trustee from plan payments on a pro rata basis
                       from funds available after payment of creditors with an EMA unless otherwise
                       specified in paragraph 13.

   Debtor's name          DSO arrearage                       Address                 Telepho       Estim
                         claim holder name                                              ne          ated
                                                                                      number        arrear
                                                                                                    age
                                                                                                    claim


                 iii. For noticing purposes under §1302(d), if the DSO claim holder listed above in
                      paragraph 3(a)(i) or 3(a)(ii) is a governmental unit, list the name(s), address(es)
                      and phone number(s) of the actual holder of a DSO as defined in §101(14A).
                      Pursuant to §112 and FRBP Rule 9037, do not disclose the name of a minor child.
                      Identify only with the minor's initials.
   Debtor's name       DSO recipient name                       Address                        Teleph
                                                                                               one
                                                                                               number

        b. Priority claims other than domestic support obligations:




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                  i. Shall be paid by the trustee from the plan payments on a pro rata basis unless
                     otherwise specified in paragraph 13. Any other special provisions must be clearly
                     set out in paragraph 13.

                  ii. Shall be paid from funds available for this class after payment of creditors with an
                  EMA.

                            Priority creditor name                                 Estimated priority
                                                                                        claim
                                    IRS                                                10463.77
                              Missouri DOR                                             13598.12
                     Manager of Finance/Jackson County                                Notice Only

    4. LONG TERM REAL ESTATE MORTGAGE (RESIDENTIAL & NON-RESIDENTIAL)
       & OTHER LONG TERM DEBTS (EXCEPT STUDENT LOANS) TREATED
       PURSUANT TO §1322(b)(5) AND EXCEPTED FROM DISCHARGE PURSUANT TO
       §1328(a)(1)

      a. Pre-petition arrearages shall be paid by the trustee from the plan payments on a pro rata basis
         unless otherwise specified in paragraph 13.
      b. If the post-petition real estate mortgage payments are to be paid from the plan payments, the
         trustee shall pay pursuant to LR 3094-1.
      c. The trustee shall populate the database for post-petition mortgage payments to be paid from
         the plan payments unless other treatment is clearly specified.
      d. If the court enters an order or judgment post-confirmation that deems a mortgage an
         unsecured claim, the trustee and the debtor retain the right to amend the plan to comply with
         11 U.S.C. §1325(a)(4) and to amend the treatment of the affected creditor.

  Creditor Name       Collateral     Post Petition       Post Petition     Estimated       Arrearage
                                       Monthly           Plan Payment     Prepetition     Interest Rate
                                       Payment                             Arrearage
                                                         Paid  Paid
                                                        Throug Direct
                                                        h Plan

  WFFINANCE        9016 E 74th $720                                      $9000          Zero
                   Terrace,
                   Raytown, MO
                   64133

    5. REAL ESTATE MORTGAGES (RESIDENTIAL & NON-RESIDENTIAL) TO BE PAID
        IN FULL DURING THE LIFE OF THE PLAN BY THE TRUSTEE FROM THE PLAN
        PAYMENTS
  Creditor Name  Collateral Post Petition  Post Petition  Estimated   Arrearage
                              Monthly      Plan Payment  Prepetition Interest Rate
                              Payment                     Arrearage
                                           Paid     Paid
                                          Throug Direct
                                          h Plan




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  WFF CARDS        9016 E 74th Pro Rata                                  $                 Zero
                   Terrace,
                   Raytown, MO
                   64133


       a. Pre-petition arrears shall not be paid as a separate claim as arrears should be part of the
          principal balance of the claim which is being paid in full.

       b. If no monthly payment is provided, the creditor shall be paid pro rata from funds available
          for this class after the payment of creditors with an EMA.

       c. If no interest rate is provided, the trustee shall use the Chapter 13 Rate in effect for this case.

       d.    If the court enters an order or judgment post-confirmation that deems a mortgage an
            unsecured claim, the trustee and the debtor retain the right to amend the plan to comply with
            11 U.S.C. §1325(a)(4) and to amend the treatment of the affected creditor.


     6. STUDENT LOANS

       a. Post-petition payments shall be paid the contractual monthly payment as a long term
          continuing debt as specified below with arrears paid by the trustee from plan payments on a
          pro rata basis. If no interest rate is provided for the student loan arrears, the trustee shall use
          the Chapter 13 Rate in effect for this case. (Student loans must qualify as a long term
          continuing debt to be treated in subparagraph b.)

       b. If the box below does not specify whether the ongoing post-petition payments are to be paid
          directly or from the plan payments, the trustee shall populate the database for the on-going
          post-petition payments to be paid from the plan payments.

  Creditor Name      Last 4   Estimated Contract Post Petition   Estimated                 Interest Rate for
                    Digits of   Claim     ual    Plan Payment     Arrearage                     Arrears
                    Account # Amount Monthly                        Claim
                                        Payment
                                                  Paid Paid
                                                 Throug Direct
                                                 h Plan
  Sallie Mae       0226       $38443    $257                   $

       c. Student loan claims not listed in subparagraph 6(b) above shall be treated in the same class
          as other non-priority unsecured creditors as specified in paragraph 12 below.

     7. SECURED CREDITORS HOLDING A PURCHASE MONEY SECURITY INTEREST
        (“PMSI”) ENTITLED TO RECEIVE ADEQUATE PROTECTION

            a. The trustee shall pay to the holder of each allowed secured claim the EMA listed below
               with the appropriate discount rate.

            b. An equal monthly amount must be provided for creditors listed in this paragraph.

            c. Claims to which §506 valuation is not applicable:




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          Claims listed in this subsection consist of debts secured by a purchase money security
          interest in a vehicle acquired for the personal use of the debtor for which the debt was
          incurred within 910 days of filing the bankruptcy petition, or, if the collateral for the debt is
          any other thing of value, the debt was incurred within 1 year of filing. See §1325(a)(5) and
          the hanging paragraph.

               Creditor name                  Last 4                    Collateral       Inter     EMA
                                             digits of                                   est       payme
                                             account #                                   rate       nt
                                                                                                   throug
                                                                                                   h plan
   CONSUMER PORTFOLIO SVC                    6438                 2006 Ford F-150        Ch1       $390
                                                                                         3
                                                                                         Rate
   Title Max                                                      1999 Oldsmobile        Ch1       $390
                                                                                         3
                                                                                         Rate


          a. Claims to which §506 valuation is applicable:

          Claims listed in this subsection consist of any PMSI claims secured by personal property not
          described in paragraph 7(c) above. The portion of any allowed claim that exceeds the value
          indicated below shall be treated as a non-priority unsecured claim. See §§1325(a)(5) and
          506(a).

        Creditor name            Last 4              Collateral             Value of     Intere     EMA
                                 digits of                                  collateral   st rate    paym
                                 account #                                                          ent
                                                                                                    throu
                                                                                                     gh
                                                                                                    plan
                                                                           $             Ch13       $
                                                                                         Rate

   8.  SECURED CREDITORS NOT HOLDING A PURCHASE MONEY SECURITY
   INTEREST

          a. Pursuant to §1326(a)(1) creditors listed in this paragraph shall not receive pre-
             confirmation adequate protection payments unless the court orders otherwise.

          b. Creditors listed in this paragraph will be paid to the value of collateral unless otherwise
             specified in paragraph 13.

          c. An equal monthly amount must be provided for creditors listed in this paragraph.




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           Creditor name               Last 4                    Collateral      Interest     EMA
                                      digits of                                    rate       paym
                                      account #                                               ent
                                                                                              throug
                                                                                              h plan
                                                                                 Ch13
                                                                                 Rate


    9. SECURED CREDITORS SURRENDER PER §1325(a)(5)(C)

              Name of creditor                        Collateral to be        Surrender in lieu of
                                                        surrendered            entire debt (leave
                                                                              blank if a deficiency
                                                                              claim is to be allowed)



    10. TAX REDEMPTION CLAIMS

       Priority claims arising from a tax sale of real property shall be listed in this paragraph and
       specific instructions for treatment of creditor must be clearly set out in paragraph 13.

             Creditor name                    Estimated claim amount          Deadline to redeem
                                                                                   property



    11. EXECUTORY CONTRACTS & UNEXPIRED LEASES

        Post-petition payments and pre-petition arrearages on executory contracts and unexpired leases
        which are assumed shall be paid directly by debtor.
              Creditor name                    Property description           Accept or Reject
   All creditors that are associated with   All express or implied        REJECT
   the above captioned case.                arbitration contracts.

                                          In Re: Kathleen A. Hill vs.
                                          MBNA America Bank, N.A.
                                          01-66027, Adv. 02-80029
   American Arbitration Association       All implied or express       Reject
                                          arbitration agreements.
  AT&T                                   cellular telephone           Reject
  JAMS                                   All implied or express       Reject
                                         arbitration agreements.
  National Arbitration Forum             All implied or express       Reject
                                         arbitration agreements.

    12. NON-PRIORITY UNSECURED CREDITORS




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      a. If debtor has both non-exempt equity (requiring a LAP) and disposable income (requiring a
         DIP), the type of plan selected should be the option which provides the greatest dividend to
         non-priority unsecured creditors and complies with §1325(b) if less than a 100% dividend.

      b. To the extent that the debtor is entitled to a tax refund which is a prepetition asset, the non-
         exempt portion thereof which either is not properly setoff, or which is not already provided
         for under the terms of the plan for the benefit of the unsecured creditors shall be turned over
         to the trustee for the benefit of the filed and allowed unsecured creditors.

      c. To the extent debtor has a pending or potential lawsuit or other administrative proceeding,
         whether or not such cause of action is listed on Schedule B, any net, non-exempt proceeds
         which become liquidated during the applicable commitment period shall be turned over to
         the trustee for the benefit of unsecured creditors absent other court order and absent other
         agreement with the trustee.

      d. If the real estate mortgage claim holder (or servicer) set forth in either Section 4 or 5 of this
         Plan fails to timely file a Proof of Claim, the debtor may file a Proof of Claim for the real
         estate mortgage claim holder (or servicer). If the debtor files a Proof of Claim for the real
         estate mortgage claim holder (or servicer) it shall be served upon the real estate mortgage
         claim holder (or servicer) as set forth in Federal Rule of Bankruptcy Procedure 7004. If the
         debtor files a Proof of Claim for the real estate mortgage holder (or servicer), and serves it as
         set forth in Federal Rule of Bankruptcy Procedure 7004, the terms set forth in the Proof of
         Claim filed by the debtor shall be binding upon the real estate mortgage claim holder (or
         servicer) subject to further Order of the Court.

      e. Treatment of non-priority unsecured creditors:

                         55Month Base Plan

    13. OTHER REMARKS OR PROVISIONS:

            a. The purpose of this Plan:
               i. This is for the adjustment of debts.
               ii. Save the home from foreclosure
               iii.AUTO INSURANCE PROVIDER: State Farm
               iv.HOME INSURANCE PROVIDER: State Farm
            b. Relief from the Automatic Stay
               i. If a secured creditor receives relief from the automatic stay pursuant to 11
                  U.S.C §362(d) or if an asset is surrendered pursuant to 11 U.S.C.
                  §1325(a)(5)(c), in this Chapter 13 Plan, then any and all claims that are
                  secured by the asset(s) shall no longer be long term debts and shall not be
                  excepted f r o m discharge.        H o wever, t h e T r u stee shall continue to
                  make disbursements as otherwise set forth below in “Plan Provisions”
                  paragraph (B)(iv). In re Tafoya, Case Number 11-42085, Document Number
                  35.
            c. Conflict Resolution
               i. To resolve any conflict that may arise between the interpretation of §1306 and
                  §1327 the post-petition wages will remain property of the estate until such
                  time as the case is closed, dismissed, or converted to a case under chapter 7,
                  11, or 12 of this title, whichever comes first.




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Chapter 13 Debtor: /s/ Robert Edward Holt
                      Robert Edward Holt

Chapter 13 Debtor: /s/ Debbie Ann Holt
                      Debbie Ann Holt


                                                                   Respectfully submitted by,
                                                                    /s/Rachel Lynn Foley
                                                                   RACHEL LYNN FOLEY, Mo Bar 47121
                                                                   4016 S. Lynn Crt. Ste. B
                                                                   Independence, MO. 64055
                                                                   816-472-4357               Telephone
                                                                   888-876-1591               Fax
                                                                   clients@kcbankruptcy.com Email
                                                                   ATTORNEY FOR DEBTORS


                                              CERTIFICATE OF MAILING

       I hereby certify that a copy of the above and foregoing was served electronically or
mailed, first class, postage prepaid, the day it was electronically filed with this Court to:

         Richard V. Fink, Trustee
         Debtor(s)
         All creditors associated with the above captioned case.



                                                                             /s/ Rachel Lynn Foley
                                                                             Rachel Lynn Foley
                                                            PLAN PROVISIONS


   A. PLAN PAYMENT
      i. Mailing address: All plan payments shall be payable to “Richard V. Fink, Trustee”, shall include the debtor's name and case
          number and shall be mailed to Richard V. Fink, Trustee, P.O. Box 1839, Memphis, TN 38101-1839.
      ii. Commencement date: Plan payments shall commence within 30 days of the petition date. Once a plan is confirmed, that
          plan payment remains in effect until such time as the court confirms a subsequent amendment.
      II Employer wage order: If the box for voluntary wage assignment to the employer is checked and the employer address is not
      I. provided, the wage order shall be issued directly to the debtor. If neither box in paragraph 1 is checked, the wage order shall
          be issued directly to the debtor. Full and timely payment is the debtor's responsibility if the voluntary wage assignment has
          not gone into effect or if the employer does not remit the full plan payment amount. The trustee also may cause an order to
          remit plan payments to be issued to the debtor's employer pursuant to LR 3083-1.
   B. DISTRIBUTIONS TO CREDITORS
      i. Proof of claim: The trustee shall only distribute payments, including adequate protection payments, to creditors who have
          filed proofs of claim. If the plan provides for the debtor to make payments directly, then the failure of the creditor to file a
          proof of claim does not excuse the debtor from making the required direct payments. If the debtor is to make direct payments
          to a creditor, those payments must be paid pursuant to the terms of the contract regardless of whether the plan is confirmed.
          However, if the trustee is to pay any portion of a claim, then it is necessary for the creditor to file a proof of claim to receive
          the portion of the claim to be paid through the trustee.
      ii. Order of distributions: The trustee shall distribute to creditors, absent other order of the court, based on the confirmed plan,
          filed and allowed proofs of claim, and the notice to allow claims and any subsequent notices to allow additional, adjusted or




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            amended claims. See LR-3084-1 and LR 3085-1. The manner and order of distribution to creditors shall be determined by the
            trustee unless otherwise clearly set out in the plan as confirmed.
        ii Creditor mailing address/assignments or transfers: The trustee shall mail payments to the address provided on the proof of
        i. claim unless the creditor provides another address in writing for payments or the trustee receives other official, written notice
            of a change of address. If the claim is assigned or transferred, the trustee shall continue to remit to the original creditor until
            an assignment or transfer of claim is filed with the court.
        iv. Payment of claim after lifting of stay: The trustee shall continue to make payments to any creditor with a filed and allowed
            claim after an order granting relief from the stay is entered or the stay is otherwise not in effect. The trustee shall cease
            making payments pursuant to LR 3086-1 only if:
             1. an objection to the claim is filed and an order is entered disallowing the claim;
             2. the claim is withdrawn by the creditor; or
             3. the creditor advises the trustee in writing to cease making payments to it.
   C.   ADMINISTRATIVE COSTS
        i. Trustee's fees: Trustee's fees shall be collected from each payment disbursed by the trustee regardless of whether it is paid
            pre- or post-confirmation. See 28 USC §586, §1326, LR 3086-1
        ii. D.ebtor's attorney's fees: Attorney fees shall be paid from the plan payments pursuant to LR 2016-1 unless a different
            treatment is provided in paragraph 13 and the court issues a specific order regarding that proposed treatment. The
            confirmation of the plan without that separate, specific court order shall not permit attorney fees to be paid contrary to the
            equal monthly amount specified in paragraph 2. All attorney fees paid contrary to that paragraph or other order of the court are
            subject to disgorgement.
   D.   PRIORITY CLAIMS
        i. Treatment: Section 1322(a)(2) provides that all claims entitled to priority under §507(a) shall be paid in full in deferred cash
            payments, except when §1322(a)(4) applies to §507(a)(1)(B) priority claim, unless the holder of a particular claim agrees to a
            different treatment of such claim. All priority claims, regardless of the underlying basis for the claim, are similarly classed for
            purposes of distribution under this plan unless otherwise specified in paragraph 13 or other order of the court. Priority
            creditors shall not receive interest on their claims unless otherwise specified in the plan or other order of the court.
        ii. Classification: All priority creditors, including DSO's, with a filed and allowed claim for whom an EMA is provided in
            paragraph 13, shall be grouped for distribution purposes with any creditor for whom an EMA is provided, including secured
            claims and debtor's attorney's fees. All priority unsecured creditors, including DSO's, with a filed and allowed claim for whom
            an EMA is not provided, shall be grouped for distribution purposes with any secured creditor being paid pro rata as funds are
            available for that class of creditors.
   E.   LONG TERM REAL ESTATE MORTGAGES (RESIDENTIAL & NON-RESIDENTIAL) & OTHER LONG TERM DEBTS
        PURSUANT TO §1322(b)(5) AND EXCEPTED FROM DISCHARGE PURSUANT TO §1328(a)(1)
        i. Interest rate for pre-petition arrearage: All pre-petition arrearages, whether scheduled or unscheduled, shall be paid 0%
            interest pursuant to §1322(e) unless otherwise specified in the plan or ordered by the court. If a portion of the pre-petition
            arrearage is entitled to interest, the treatment should be clearly specified in paragraph 13 as to the amount to be paid interest
            and the applicable interest rate. If the proof of claim is filed with no information regarding the portion to be paid interest, the
            trustee shall pay interest on the amount indicated in the plan. If no specific interest rate is provided and the plan provides for
            interest, the trustee shall use the Chapter 13 Rate in effect for the case.
        ii. Post-petition mortgage payment change: A “Notice of Payment Change” shall be filed with the court and served on the
            debtor, the debtor's counsel and the trustee no later than sixty (60) days prior to any payment change and shall contain the
            information required pursuant to LR 3094-1(C)(3).
        ii Pre-confirmation adequate protection payments on claims secured by real property: The trustee shall distribute adequate
        i. protection payments to real property creditors being paid from the plan payments pursuant to LR 3086-1(E)
   F.   LIEN RETENTION
        i. The holder of a secured claim shall retain its lien, until the earlier of the payment of the underlying debt determined under non-
            bankruptcy law or the discharge under §1328 and, if the case is dismissed or converted without completion of the plan, the
            lien also shall be retained by such holder to the extent recognized by applicable nonbankruptcy law. §1325(a)(5)(B).
   G.   LIEN AVOIDANCE
        i. Secured creditors with a non-purchase money security interest in consumer goods may be subject to lien avoidance per
            §522(f), and treated as non-priority unsecured only if a separate motion/action is filed and the court enters an order avoiding
            the lien.
   H.   SECURED CREDITORS HOLDING A PURCHASE MONEY SECURITY INTEREST ENTITLED TO RECEIVE
        ADEQUATE PROTECTION.
        i. Pre-confirmation adequate protection payments:
            1. How made: All adequate protection payments to secured creditors listed in paragraph 7 required by §1326(a)(1) shall be
                made through the trustee pursuant to LR 3086-1 unless otherwise ordered by the court. A creditor shall not receive
                adequate protection payments if the plan does not provide for such creditor to be treated as secured in paragraph 7. In
                order for such creditor to receive adequate protection payments, the debtor must amend the plan to so specify that
                creditor's treatment as secured and to provide an equal monthly amount for that creditor or the creditor must file an
                appropriate motion for adequate protection with the court and obtain an order. Creditors may file objections to the
                adequate protection treatment provided by the plan.
            2. Proof of claim required: All creditors listed in the plan in paragraph 7 shall receive adequate protection payments
                pursuant to §1326(a)(1), with the trustee releasing such payments to each creditor only after a proof of claim is filed with
                the court. Adequate protection payments shall be paid from the second month following the petition or conversion month
                through the confirmation month. The principal amount of the adequate protection recipient's claim shall be reduced by the
                amount of the adequate protection payments remitted unless the court orders otherwise.
            3. Long term personal property claims: Any personal property debt that qualifies as a long term debt and is listed in




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              paragraph 4 for which pre-confirmation adequate protection payments are required shall be paid adequate protection
              payments.
   I. SECURED CREDITORS SURRENDER PER §1325(a)(5)(C)
      i. Time of surrender: Debtor shall surrender collateral no later than thirty (30) days from the filing of the petition unless
          otherwise specified in the plan.
      ii. Automatic stay: Any repossession/foreclosure prior to confirmation of this plan must be obtained by a filed motion and court
          order, unless the automatic stay no longer applies under §362(c). Upon plan confirmation, the automatic stay shall be deemed
          lifted for the collateral identified for surrender and the creditor need not file a Motion to Lift the Stay in order to repossess,
          foreclose upon or sell the collateral. Nothing herein is intended to lift any applicable co-debtor stay, or to abrogate debtor's
          state law contract rights.
      ii Deficiency claim: If a deficiency claim is filed, it shall be allowed unless the column titled "Surrender In Lieu of Entire Debt”
      i. has a mark of any kind in it. If there is any mark in said column, the trustee shall populate the database as “surrendered in lieu
          of the entire debt,” including any non-priority unsecured portion.
   J. DEFINITIONS
      i. Arrearage: Any arrearages listed are the debtor's best estimate of the amount owed as of the date of the petition. The trustee
          shall pay arrearages based on the filed and allowed proof of claim pursuant to Local Rule 3084-1. If no arrearage amount is
          shown on the proof of claim, none shall be paid.
      ii. Base plans:
          1. Base amount: The base amount (“Base”) shall be calculated by multiplying the number of months proposed in a base case
               by the monthly plan payment. If the monthly plan payment changes, the base shall be adjusted accordingly.
          2. Adjustments to Base: The Base may be adjusted upward to accommodate proofs of claim and amended proofs of claim
               filed and allowed after the bar date and to accommodate increases in long term continuing debts being paid through the
               trustee from the plan payments remitted by the debtor. The Base may be adjusted at the end of the plan in order to allow a
               full monthly payment in the last month of the plan to any creditor receiving long term debt payments through the trustee.
               The Base may be adjusted upward due to any additional funds the debtor receives which are determined to be disposable
               income either by agreement of the debtor and the trustee or by order of the court regardless of source. If the debtor remits
               sufficient funds to the trustee to pay off the case in full, e.g. 100% to all filed and allowed unsecured creditors; the trustee
               may adjust the plan to a 100% plan for filed and allowed unsecured creditors without further order of the court.
          3. Payment of non-priority unsecured creditors: Filed and allowed non-priority unsecured creditors shall be paid their pro
               rata share, as funds are available, of plan payments available after the satisfaction of administrative expenses, secured
               claims (including interest), priority unsecured claims and after all long-term debt payments being paid through the trustee
               are current.
          4. Length of Base: Because the total funds paid into the plan must be sufficient to satisfy the administrative expenses,
               secured claims and priority unsecured claims, the plan may actually run longer than the number of months needed to
               satisfy the Base. Any adjustments made to the Base that results in the Plan running in excess of the sixty-month statutory
               time limit of §1322(d) may result in the trustee filing a motion to dismiss.
          5. Applicable commitment period: If the trustee or an unsecured creditor objects to confirmation of a plan pursuant to
               §1325(b)(1)(B), the debtor shall devote to the plan all disposable income for payment to unsecured creditors for the
               applicable commitment period from the date that the first plan payment is due, as defined in §1326(a)(1), unless the plan
               provides for payment in full of all filed and allowed unsecured claims over a shorter period. Regardless of whether the
               trustee objected to the confirmation of the plan pursuant to §1325(b)(1)(B), the trustee may file a Motion to Amend Plan
               pursuant to §1329 to a Base plan or a Pot plan if the plan as filed and confirmed will pay all administrative expenses and
               filed and allowed secured and priority creditors in a period of time that is less than the applicable commitment period. This
               includes plans running less time than anticipated due to the lifting of the automatic stay, secured or priority claims being
               allowed for less than the scheduled amount or not filed at all, withdrawn claims, lien avoidance or disallowance of claims
               or plans running less than the applicable commitment period due to other reasons. The trustee or the debtor or an allowed
               unsecured claimant may also file a Motion to Amend Plan pursuant to §1329 if there has been a post confirmation change
               in circumstances that would allow the debtor to pay a dividend or an increased dividend to non-priority unsecured
               creditors.
          6. Equal monthly amount (EMA): Claims with EMA's may receive more than the EMA and may receive those additional
               funds prior to payments being made to non-priority unsecured creditors.
          7. Long term debt: A long term debt is one in which the final payment due under the terms of the contract comes due after
               the final Chapter 13 plan payment comes due.
      ii Pot plans:
      i.
          1. Liquidation analysis pot (LAP): The LAP shall first be used to satisfy pre-confirmation debtor's attorney's fees being
               paid from the plan payments and filed and allowed priority claims. Any funds remaining in the LAP after the satisfaction
               of those claims shall be paid to filed and allowed non-priority unsecured claims. If the LAP is less than or equal to the sum
               of the pre-confirmation debtor's attorney's fees being paid from the plan payments and the filed and allowed priority
               claims, the filed and allowed non-priority unsecured claims shall receive zero percent (0%), unless the plan runs short of
               the applicable commitment period. See paragraph J(iii). Filed and allowed special or co-debtor nonpriority claims shall not
               receive more than their pro rata share of any funds available for distribution to filed and allowed non-priority claimants
               from the LAP; if the plan provides for filed and allowed special or co-debtor non-priority claims to be paid more than the
               other filed and allowed non-priority unsecured claimants, then the debtor shall pay to the trustee the additional funds
               necessary to satisfy those claims.
          2. Disposable income pot (DIP):
               a. Above median debtors (DIP-60): If the debtor has disposable income as defined in §§1325(b)(2) and (b)(3) and the
                   applicable commitment period as defined in §1325(b)(4)(A) is not less than five (5) years, the DIP amount shall be the
                   amount of the monthly disposable income on form B22C multiplied by 60.




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               b. Below median debtors (DIP-36): If the debtor has disposable income as defined in §§1325(b)(2) and (b)(3) and the
                  applicable commitment period as defined in §1325(b)(4)(A) is not less than three (3) years, the DIP amount shall be
                  the amount of the monthly disposable income multiplied by 36.
               c. Sharing in the DIP: The DIP shall first be used to satisfy pre-confirmation debtor's attorney's fees being paid from the
                  plan payments and filed and allowed special or codebtor non-priority unsecured claims. Filed and allowed priority
                  claims are not deducted from the DIP-60 as they already have been deducted on the form B22C. Filed and allowed
                  priority claims are deducted from the DIP-36. Any remaining funds in the DIP shall be paid to filed and allowed non-
                  priority unsecured claims. If the DIP is less than or equal to the sum of the pre-confirmation debtor's attorney's fees
                  being paid from the plan payments and filed and allowed special or co-debtor non-priority unsecured claims, the filed
                  and allowed non-priority unsecured claims shall receive zero percent (0%), unless the plan runs short of the applicable
                  commitment period. See paragraph J(iii) above.
               d. Adjustment to dividend for both LAP plans and DIP plans: After the dividend to non-priority unsecured creditors is
                  set, the trustee will not adjust the percentage to accommodate proofs of claim and amended proofs of claim filed and
                  allowed after the bar date. If the debtor believes that adjustment of the percentage is required, it will be the
                  responsibility of the debtor to amend the plan. If the debtor determines that an adjustment is required, it will be the
                  responsibility of the debtor to determine an appropriate percentage and file an amended plan to set the dividend to that
                  percentage. Any such amendment to the plan shall reflect the dividend which previously has been set and shall
                  provide a dividend that will comply with §1325(a)(4) and must be at least equal to any distributions already made to
                  non-priority unsecured creditors.
               e. Trustee's avoidance powers: If the trustee avoids a transfer of an interest of the debtor in property and recovers funds
                  in a total amount equal to or greater than three thousand dollars ($3000.00), the recovered funds shall be distributed to
                  unsecured creditors pursuant to the provisions of a LAP plan listed above.
               f. Value of collateral: The value of collateral listed is the debtor's best estimate. The trustee uses the value listed on the
                  face of the filed proof of claim, if one is listed, pursuant to Local Rule 3084-1 when populating the database with the
                  proof of claim. If the value of the collateral is not provided on the face of the proof of claim or in the plan or schedules,
                  the claim shall be treated as a non-priority unsecured claim.


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